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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



  United States of America                   )               CASE NO. 1:06CR594
             Plaintiff                       )
                                             )               Judge David D. Dowd, Jr.
              - vs -                         )
                                             )               ORDER
  Carlos Moore                               )
                                             )
              Defendant                      )




      The defendant and his counsel, Anthony Vegh appeared before this Court on July 24, 2012.

      A report and recommendation was filed on April 25, 2012. See docket #1431. The Court

  adopts the report and recommendation of Magistrate Judge Nancy Vecchiarelli and finds the

  defendant in violation of his terms and conditions of supervised release as stated in the Violation

  Report.

      IT IS ORDERED that the defendant’s supervised release is hereby revoked and the defendant

  be committed to the custody of the Bureau of Prisons for a period of three (3) months. The

  defendant is granted leave to self-surrender by 12:00 noon on August 7, 2012, to the U.S.

  Marshal. Upon release from confinement the period of supervised release is terminated.




  July 24, 2012                                      s/David D. Dowd, Jr.
     Date                                            DAVID D. DOWD, JR.
                                                     U. S. DISTRICT JUDGE
